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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-0442V
                                   Filed: November 25, 2015
                                           Unpublished
*********************************
JOHN DAUKSTS,                                     *
                                                  *
                         Petitioners,             *
                v.                                *
                                                  *        Attorneys’ Fees and Costs; Stipulation;
SECRETARY OF HEALTH                               *        Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                               *
                                                  *
                         Respondent.              *
                                                  *
****************************

Tara C. O’Mahoney, Law Offices of Chicago-Kent College of Law, Chicago, IL,
       for petitioner.
Darryl R. Wishard, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS 1

Dorsey, Chief Special Master:

        On May 1, 2015, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act” or “Program”). Petitioner alleged that he suffered Guillain-Barré syndrome (“GBS”)
as a result of an influenza (“flu”) vaccine he received on November 6, 2013. On
November 18, 2015, the undersigned issued a decision awarding compensation to
petitioner based on a joint stipulation.

       On November 24, 2015, the parties filed a Stipulation of Fact Concerning
Attorneys’ Fees and Costs. According to the stipulation, the parties stipulate to an

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended
at 44 U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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award of $12,009.47. In accordance with General Order #9, petitioner’s counsel
represents that petitioner incurred no out-of-pocket expenses.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42
U.S.C. § 300 aa-15(e). Based on the reasonableness of petitioner’s request and the
lack of any objection by respondent, the undersigned GRANTS the request for approval
and payment of attorneys’ fees and costs.

      Accordingly, the undersigned awards the total of $12,009.47 3 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s attorneys,
the Law Offices of Chicago-Kent College of Law.

        The clerk of the court shall enter judgment in accordance herewith. 4

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




3
 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, 42 U.S.C. § 300aa-15(e)(3) prevents an attorney from charging or collecting fees (including
costs) that would be in addition to the amount awarded herein. See generally Beck v. Sec’y, HHS, 924
F.2d 1029 (Fed. Cir.1991).
4
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
